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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             Case No.: 1:20-cv-23287(DPG)(AMO)

     LUIS MANUEL RODRIGUEZ, et al.,

                                    Plaintiffs,
                       v.

     IMPERIAL BRANDS PLC, et al.,

                                  Defendants.




         PLAINTIFFS' OBJECTIONS TO THE SUPPLEMENTAL REPORT AND
        RECOMMENDATION ON DEFENDANTS IMPERIAL BRANDS PLC AND
       WPP PLC’S MOTIONS TO DISMISS THE SECOND AMENDED COMPLAINT




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